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 9                               UNITED STATES DISTRICT COURT
                            FOR THE CENTRAL DISTRICT OF CALIFORNIA
10                                     WESTERN DIVISION
11     BROIDY CAPITAL MANAGEMENT                                  Civil Case No.:
12     LLC, and ELLIOTT BROIDY,
                                                                  2:18-CV-02421-JFW-(Ex)
13               Plaintiffs,
14                                                                DEFENDANT STATE OF QATAR’S
                 v.
15                                                                NOTICE OF MOTION AND
                                                                  MOTION TO STAY DISCOVERY
16     STATE OF QATAR, STONINGTON
                                                                  PENDING RESOLUTION OF
       STRATEGIES LLC, NICOLAS D.
17                                                                DEFENDANT STATE OF QATAR’S
       MUZIN, GLOBAL RISK ADVISORS
                                                                  MOTION TO DISMISS;
18     LLC, KEVIN CHALKER, DAVID MARK
                                                                  MEMORANDUM OF POINTS AND
       POWELL, MOHAMMED BIN HAMAD
19                                                                AUTHORITIES
       BIN KHALIFA AL THANI, AHMED AL-
20     RUMAIHI, and DOES 1-10,
                                                                  Hearing Date: July 9, 2018
21               Defendants.                                      Time: 1:30 p.m.
22                                                                Judge: Hon. John F. Walter
23

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      SF: 277413-1

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 1             TO ALL INTERESTED PARTIES AND THEIR ATTORNEYS OF
 2    RECORD:
 3             PLEASE TAKE NOTICE that on July 9, 2018,1 at 1:30 p.m., or as soon
 4    thereafter as may be heard in Courtroom 7A in the United States District Court for the
 5    Central District of California, located at 350 W. 1st Street, Los Angeles California,
 6    90012, Honorable John F. Walter presiding, Defendant State of Qatar will appear and
 7    move the Court for an Order staying discovery in this action pending a decision on its
 8    forthcoming Motion to Dismiss Plaintiffs’ First Amended Complaint. Defendant State of
 9    Qatar’s Motion to Stay is based upon this Notice, the attached Memorandum and Points
10    of Authorities, all papers and pleadings on file in this action, and on such other oral and
11    documentary evidence as the Court may receive at or before the hearing on this motion.
12             PLEASE TAKE FURTHER NOTICE that this Motion is made following the
13    conference of counsel pursuant to Local Rule 7-3, which took place on April 26 and April
14    30, 2018, with further correspondence among counsel on May 28, 2018. See Joint Pre-
15    Filing Statement, Dkt. 52, filed on May 31, 2018.
16        Dated: June 6, 2018                            Respectfully submitted,
17
                                                         COVINGTON & BURLING LLP
18

19
                                                         By: /s/ Mitchell A. Kamin________________
                                                                MITCHELL A. KAMIN
20                                                              Attorneys for Defendant State of Qatar
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23    1
        Defendant State of Qatar (“Qatar”) originally filed this Motion on June 4, 2018,
24    pursuant to the parties’ stipulated schedule. The Court struck the original filing because
      the filing noticed an expedited hearing date that Qatar had requested via a concurrently
25    filed ex parte application, rather than noticing a hearing date based off Local Rule 6-1.
      Qatar has refiled the Motion with a Local Rule 6-1 hearing date that is calculated from
26    the date of re-filing. However, if this Court determines that a hearing is necessary, Qatar
      respectfully requests that the Court hear the matter on July 2, 2018 which is 28 days
27    following the original filing date of this Motion, and thus is also the hearing date that
      would have been originally contemplated under the parties’ stipulation and the Court’s
28    resulting scheduling order.
                                                           i
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 1                       MEMORANDUM OF POINTS AND AUTHORITIES
 2                                              INTRODUCTION
 3           Defendant State of Qatar (“Qatar”) respectfully requests a stay of all discovery
 4    pending resolution of its forthcoming Motion to Dismiss pursuant to Rules 12(b)(1) and
 5    12(b)(6) of the Federal Rules of Civil Procedure. If granted, that Motion will entirely
 6    dispose of the suit against Qatar, obviating the need for intrusive discovery into the
 7    inherently sensitive realm of a foreign sovereign’s diplomatic and political affairs. Qatar
 8    also requests that the Court address this urgent issue on an expedited basis. 2
 9           As will be detailed in Qatar’s Motion to Dismiss, which Qatar will file no later
10    than July 23, 2018, the Court should dismiss all causes of action against Qatar because
11    (1) this Court lacks subject matter and personal jurisdiction over Qatar under the Foreign
12    Sovereign Immunity Act (“FSIA”)—core defects not cured by Plaintiffs’ amended
13    Complaint, and (2) Plaintiffs have failed to plausibly state a claim against Qatar, even
14    after amending their Complaint. Permitting discovery prior to the resolution of these
15    dispositive issues would undercut a fundamental purpose of Qatar’s immunity under the
16    FSIA—to protect it, a foreign sovereign, from the expense, intrusion, and burdens of
17    litigation.
18           Plaintiffs have already signaled their intention to quickly begin wide-ranging,
19    burdensome, and invasive discovery before the Court has the opportunity to consider
20    whether Qatar is subject to suit at all. As of the time of this filing, Plaintiffs have served
21    Requests for Production against Defendants Muzin and Stonington Strategies, as well as
22    44 third party subpoenas against other purported Qatari agents, Internet Service Providers
23

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      2
        According to the current scheduling order, Plaintiffs may begin propounding additional
26    discovery on June 4, 2018 (the date this motion was originally filed), and objections to
      their already-served discovery requests are due on June 18, with responses due two weeks
27    later on July 2.
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 1    (“ISPs”), telephone/cellular service providers, Internet and data companies, media
 2    companies, and individuals across the globe. 3
 3          Any discovery—as to Qatar, its co-defendants, or third parties—is unreasonable at
 4    this stage, as Qatar’s Motion to Dismiss is likely to end the case against it altogether.
 5    Furthermore, the discovery requests that Plaintiffs have already propounded are
 6    impermissibly overbroad, and impinge on Qatar’s inviolable claims to immunity under
 7    the Vienna Conventions on Diplomatic and Consular Relations. If this Motion is not
 8    granted in full, Qatar will be forced to actively involve itself in discovery to protect its
 9    interests, immunities, and privileges while its jurisdictional objections are being
10    adjudicated.
11          More broadly, Plaintiffs’ actions to date underscore that this lawsuit is simply a
12    fishing expedition into Qatar’s political and foreign-policy affairs—part of a broader
13    effort to deflect attention from Plaintiff Elliott Broidy’s ongoing legal and personal
14    troubles. Indeed, Plaintiffs’ First Amended Complaint fails to cure the defects of their
15    original complaint and only underscores that Plaintiffs have no factual bases on which to
16    state their claims. Rather, their strategy appears to be to file a baseless lawsuit against a
17    foreign sovereign and then seek aggressive discovery in a desperate attempt to find some
18    facts that could support their claims. But after months of initial discovery, including
19    subpoenas to 35 ISPs, Plaintiffs have still come up dry, filing an amended complaint that
20    includes a number of wholly spurious and irrelevant allegations but provides no more
21    relevant factual detail than Plaintiffs’ originally-filed Complaint.
22

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      3
        On May 4, 2018, after the parties met and conferred regarding the deficiencies in
25    Plaintiffs’ original Complaint and Qatar’s basis for filing a Motion to Stay Discovery, the
      parties stipulated to a limited stay of discovery, in which Plaintiffs agreed to halt
26    discovery against any of the parties, any of Qatar’s registered agents, and any third
      parties employed or engaged by Qatar to advise or assist in diplomatic or sovereign
27    functions. Dkt. 45. That limited stay of discovery expires on June 4, 2018, the date of
      this filing. In the intervening period, Plaintiffs have continued to serve subpoenas on a
28    large number of third-parties.

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 1                                       STATEMENT OF FACTS
 2          Plaintiffs filed their Complaint on March 26, 2018, alleging seven tort claims
 3    against Defendant State of Qatar, Defendant Nicolas Muzin, and Defendant Muzin’s
 4    company (Stonington Strategies). Dkt. 1. The Complaint alleged that Plaintiffs’ email
 5    accounts were accessed without authorization and then disseminated to media outlets, and
 6    conjectured that Defendants perpetrated the purported hack. Id.
 7          On April 2, 2018, before even serving the Complaint on Qatar, Plaintiffs filed an
 8    Ex Parte Application for Temporary Restraining Order, as well as a request for expedited
 9    discovery. Dkt. 31. The Court denied the Ex Parte Application on April 4, 2018, citing
10    its “serious concerns” as to whether the Court has subject matter jurisdiction over Qatar.
11    The Court further held that Plaintiffs could not demonstrate a likelihood of success on the
12    merits because Plaintiffs “failed to provide admissible evidence demonstrating that any of
13    the defendants . . . are responsible for the unauthorized access of Plaintiffs’ email
14    accounts or that any of the Defendants are in possession of or are responsible for
15    disseminating the allegedly illegally-obtained emails and documents to various media
16    outlets.” Id.
17          The Court further denied Plaintiffs request for expedited discovery on these same
18    grounds. Dkt. 37. Nevertheless, Plaintiffs quickly began propounding burdensome,
19    invasive, and overbroad discovery on Defendants Muzin and Stonington Strategies, as
20    well as numerous third-party subpoenas to various individuals and ISPs.
21          On April 26 and 30, 2018, the parties met and conferred on Qatar’s planned
22    Motion to Dismiss the original complaint as well as a Motion to Stay Discovery.
23    Recognizing that Qatar had raised serious deficiencies in their Complaint, Plaintiffs
24    proposed a compromise by which they would have until May 24, 2018 to amend and, in
25    the meantime, would refrain from discovery against any party, any registered agents of
26    Qatar, or any non-parties employed or engaged by Qatar to advise or assist in diplomatic
27    or sovereign functions. Because the Court’s Standing Order explicitly encourages parties
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 1    to provide opportunities to cure deficiencies in a complaint, Qatar agreed to this
 2    compromise, which the Court subsequently approved. Dkts. 45, 46.
 3          In the intervening weeks, Plaintiffs continued to serve a multitude of third-party
 4    subpoenas to ISPs in a desperate attempt to turn up any support for their purely
 5    conjectural theory that the alleged hacking activity was perpetrated by the government of
 6    Qatar. As of the time of this filing, Plaintiffs have served 35 third-party subpoenas to
 7    ISPs and other internet and data companies. Declaration of Neema T. Sahni in support of
 8    Defendant State of Qatar’s Motion to Stay Discovery Pending Resolution of Defendant
 9    State of Qatar’s Motion to Dismiss (“Sahni Decl.”), ¶ 5. Plaintiffs have received
10    responses to many of those subpoenas and predictably, none have revealed any
11    connection whatsoever to the government of Qatar. 4
12          Plaintiffs filed their First Amended Complaint (“FAC”) on May 24, 2018. Dkt.
13    47. In the FAC, Plaintiffs name several additional defendants and add many paragraphs
14    of inflammatory allegations having nothing to do with their hacking claim. 5 See, e.g.,
15    FAC, ¶¶ 41-61. They also add a substantial number of allegations, many on information
16    and belief, concerning the method by which the hack purportedly occurred, and they
17    allege that the hackers used virtual private networks to disguise their origin. See, e.g., id.
18    ¶¶ 97-116. But not one of these new “factual” allegations demonstrates any link to Qatar
19    or contradicts the jurisdictionally fatal admission in the original Complaint that the
20
      4
21      In an effort to buy even more time to continue their fishing expedition, on May 18, 2018
      Plaintiffs requested an additional six-week extension to amend their Complaint. Sahni
22    Decl., Ex. 10. Defendants could not agree to this additional extension, because it
      appeared that Plaintiffs’ plan was to simply continue third-party discovery as long as
23    possible in the hopes of finding a basis for addressing the fundamental defects in the
      Complaint. Id.
      5
24      Qatar plans to file a Motion to Strike these inflammatory accusations from the
      Complaint because they have no relevance to the instant case. For example, the FAC
25    includes several paragraphs of allegations regarding litigation relating to Defendant Al-
      Rumaihi’s investment in the Big3 basketball league. FAC ¶¶ 56-61. The inclusion of
26    such allegations in the FAC have no legitimate purpose and are in no way relevant to
      Plaintiffs’ alleged claims. Plaintiffs’ sole purpose in including such allegations can only
27    be an attempt to inflame the Court against Defendants.
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 1    “hack” originated outside the United States. 6 Plaintiffs have not alleged any facts that
 2    speak to the identity of the hacker, continuing to rely only on their original assertions that
 3    the hacks can be traced to an IP address located somewhere in Qatar and that vague
 4    conversations with defendant Nick Muzin somehow implicate Qatar. Id. ¶¶ 10-13, 115.
 5    As the Court recognized in denying the Ex Parte Application for a Temporary
 6    Restraining Order, these allegations fail to demonstrate that there was any relationship
 7    between that IP address and the government of Qatar.
 8          Despite these inflammatory and cosmetic changes, the FAC still carries with it all
 9    of the deficiencies that were present in the original Complaint. Jurisdiction is still
10    lacking because Plaintiffs’ inability to allege an entire tort occurring in the United States
11    rules out application of the non-commercial tort exception to the FSIA and the
12    commercial activities exception now invoked by Plaintiffs does not fit the tortious nature
13    of the claims. Id. ¶ 31.
14          Without a stay of discovery, Plaintiffs will pursue their previously-served party
15    discovery and third-party subpoenas, thereby necessitating Qatar’s involvement in all
16    discovery, whether or not served on Qatar, during the pendency of its Motion to Dismiss
17    in order to protect its interests and immunities. For example, the RFPs and subpoenas
18    request all documents and communications related to Qatar’s relationship with or
19    retention of the individuals subpoenaed, and all documents and communications with
20    Qatar relating to Plaintiffs. These discovery requests, although not directed at Qatar,
21
      6
22      Although Plaintiffs were clearly hoping to glean some information from the subpoena
      recipients that would lend support to their speculative claims, the subpoena responses to
23    date only serve to underscore the implausibility of the allegations in the FAC. For
      example, the FAC alleges that “Defendants registered the email address
24    ‘LA.Confidential@mail.com <mailto:LA.Confidential@mail.com> through the company
      1&1 Internet, Inc. . . . On or around March 1, 2018, Defendants used this address to
25    unlawfully distribute Plaintiffs’ stolen emails to a United States journalist.” FAC ¶ 119.
      Plaintiffs subpoenaed the host for this email address. Sahni Decl., Ex. 8. The response
26    from the subpoena recipient only indicated that the email address was created on
      February 24, and listed a series of IP addresses and access times. Sahni Decl., Ex. 9.
27    Nothing in the response supports Plaintiffs’ allegation that it was registered by
      Defendants, demonstrating that the allegation was based on nothing more than conjecture
28    and surmise.

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 1    unambiguously implicate its consular and diplomatic correspondence, which is protected
 2    from discovery under the Vienna Convention. Vienna Convention on Diplomatic
 3    Relations, art. 24, Apr. 18, 1961, 23 U.S.T. 3227, 500 U.N.T.S. 95; Vienna Convention
 4    on Consular Relations, art 33, Apr. 24, 1963, 21 U.S.T. 77, 596 U.N.T.S. 261.
 5                                              ARGUMENT
 6          This Court has broad discretion to stay discovery. Federal Rule of Civil Procedure
 7    26; Little v. City of Seattle, 863 F.2d 681, 685 (9th Cir. 1988) (“The district court has
 8    wide discretion in controlling discovery. Such rulings will not be overturned unless there
 9    is a clear abuse of discretion.”) (citation omitted). District courts in the Ninth Circuit
10    routinely stay discovery during the pendency of dispositive motions. See, e.g., Top Rank,
11    Inc. v. Haymon, 15-4961-JFW (MRWx), 2015 WL 9952887, at *1 (C.D. Cal. Sept. 17,
12    2015) (Walter, J.) (“The Court has broad discretion to stay discovery pending the
13    outcome of a potentially dispositive motion.”). 7 Such stays are particularly appropriate—
14    and “further[] the goal of efficiency for the court and litigants” —where the court is
15    deciding issues of immunity. Little, 863 F.2d at 685. Indeed, courts are particularly
16    likely to grant stays of discovery when deciding issues of immunity under the FSIA that
17    are apparent from the face of the complaint. See, e.g., Kelly v. Syria Shell Petroleum
18    Dev. B.V., 213 F.3d 841, 849-50, 852 (5th Cir. 2000) (affirming discovery stay because
19    the “FSIA immunity is immunity not only from liability, but also from the costs, in time
20    and expense, and other disruptions attendant to litigation.”).
21
      7
22     See also United States ex rel Modglin v. DJO Global Inc., No. 12-07152 MMM (JCGx),
      2014 WL 12564275, at *2 (C.D. Cal. Feb. 20, 2014) (“[A] district court has broad
23    discretion to stay discovery pending resolution of a potentially dispositive motion”);
      Amey v. Cinemark USA Inc., No. 13-06248 MMM (CWx), 2013 WL 12143815, at *2
24    (C.D. Cal. October 18, 2013) (same); Holmes v. Metro. Police Dep’t, No. 2:13-cv-00877-
      APG-GWF, 2014 WL 3734282, at *3 (D. Nev. July 29, 2014) (granting motion to stay
25    discovery where, “[i]f successful, the pending motions to dismiss will potentially dispose
      of the entire case”); Hamilton v. Rhoads, No. C 11-0227 RMW PR, 2011 WL 5085504,
26    at *1 (N.D. Cal. Oct. 25, 2011) (allowing stay where a pending motion to dismiss, if
      meritorious, would dispose of the entire case as it relates to defendant seeking stay);
27    Ralston v. Mortg. Inv’rs Grp., Inc., No. C 08-536 JF (PVT), 2010 WL 1136317, at *4
      (N.D. Cal. March 22, 2010) (granting stay of discovery “because it is unclear whether
28    Plaintiff can state a viable federal claim”).

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 1          This is the quintessential case for a stay of all discovery. First, a stay would allow
 2    the Court to determine whether Qatar is immune from suit before requiring Qatar to
 3    submit to burdensome discovery that impinges on its sovereignty—a critical threshold
 4    inquiry where, as here, the FAC suffers from serious jurisdictional defects. Second, it
 5    would ensure that Plaintiffs cannot circumvent any limited stay as to Qatar alone by
 6    seeking discovery from other entities that necessarily implicates Qatar’s interests and
 7    threatens its Vienna Convention immunities, and thus requires that Qatar involve itself in
 8    premature discovery to protect those interests and immunities. Third, it would prevent
 9    Plaintiffs from using their insufficiently-pled and utterly implausible FAC as a basis for
10    demanding intrusive discovery from parties and non-parties alike. Fourth, the burden on
11    Qatar in the absence of a complete stay significantly outweighs any burden Plaintiffs will
12    suffer from the short delay in which the Court considers Qatar’s Motion to Dismiss.
13    Likewise, a stay would serve the interest of judicial economy, by avoiding time-
14    consuming and costly disputes over the scope of permissible discovery pursuant to the
15    Vienna Convention. Finally, a total stay of discovery is necessary in this case, and even
16    limited jurisdictional discovery would not assist the court in deciding the purely legal
17    questions raised by the Motion to Dismiss.
18    I.    The Court Should Stay All Discovery Because the Motion to Dismiss Raises
            Threshold Jurisdictional Questions Under the FSIA That Can Be Resolved As
19
            a Matter of Law.
20
            A.     A Stay of Discovery Is Warranted Because Qatar Has a Compelling
21                 Claim to Immunity As a Matter of Law.
22          Qatar’s forthcoming Motion to Dismiss is a dispositive motion that, if granted,
23    would entirely end the case as to Qatar. It raises a threshold jurisdictional issue: whether
24    Qatar is immune from suit under the Foreign Sovereign Immunities Act. Under the
25    FSIA, foreign sovereigns possess not only a claim for immunity from suit, but also a
26    “legitimate claim to immunity from discovery.” Arriba Ltd. v. Petroleos Mexicanos, 962
27    F.2d 528, 534 (5th Cir. 1992). See also EM Ltd. v. Republic of Argentina, 695 F.3d 201,
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 1    210 (2d Cir. 2012) (stating that “sovereign immunity protects a sovereign from the
 2    expense, intrusiveness, and hassle of litigation.”).
 3          Courts frequently stay discovery pending resolution of the threshold issue of
 4    immunity, and this Court should do the same. Rosenstein v. Clark County Sch. Dist.,
 5    2014 WL 2835074, *3 (D. Nev. June 23, 2014) (stating that a dispositive motion raising
 6    an issue of immunity is a “[t]ypical situation[]” in which courts stay discovery); Solera at
 7    Anthem Cmty. Ass’n Inc. v. Del Webb Cmtys., 2013 WL 79815, at *1 (D. Nev. Jan. 3,
 8    2013) (“Common examples of situations warranting a stay of discovery are when
 9    jurisdiction, venue, or immunity are preliminary issues.”). Indeed, a stay of discovery
10    during the resolution of an issue of immunity “furthers the goal of efficiency for the court
11    and litigants.” Little, 863 F.2d at 685.
12          The jurisdictional question presented in this case can be determined as a matter of
13    law, even if one were to credit all of Plaintiffs’ spurious and speculative allegations. In
14    other words, as discussed below, even if Plaintiffs’ allegations were to be “proven
15    through additional discovery,” they “would not demonstrate a basis for jurisdiction in any
16    event.” Butler v. Sukhoi Co., 579 F.3d 1307, 1314-15 (11th Cir. 2009). In such cases,
17    courts “have little difficulty concluding that the need to protect [the sovereign’s] claim to
18    immunity from discovery greatly outweigh[s] any competing need for further discovery.”
19    Id. Requiring a foreign sovereign “to engage in the burdens and costs of responding to
20    discovery, especially when the jurisdictional question in this case may be resolved simply
21    by reference to the . . . allegations in the complaint, would ‘frustrate the significance and
22    benefit of entitlement to immunity from suit’ under the FSIA.” Id. (quoting Belhas v.
23    Ya’alon, 515 F.3d 1279, 1290 (D.C. Cir. 2008)).
24                 1.     On the face of the FAC, the non-commercial tort exception to the
25                        FSIA does not apply to this case.

26          As will be briefed fully in Qatar’s forthcoming Motion to Dismiss, the
27    noncommercial tort exception requires that one entire tort—the injury and the act
28    precipitating the injury—take place in the United States.

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 1    Republic of Ethiopia, 851 F.3d 7, 10 (D.C. Cir. 2017) (quoting Jerez v. Republic of Cuba,
 2    775 F.3d 419, 424 (D.C. Cir. 2014)). See also Frolova v. Union of Soviet Socialist
 3    Republics, 761 F.2d 370, 379 (7th Cir. 1985) (same); Olsen by Sheldon v. Government of
 4    Mexico, 729 F.2d 641, 646 (9th Cir. 1984), abrogated on other grounds as stated in
 5    Joseph v. Office of Consulate Gen. of Nigeria, 830 F.2d 1018, 1026 (9th Cir. 1987)
 6    (plaintiffs must allege at least “one entire tort” occurring in the United States).
 7          Plaintiffs themselves allege that the “hacking” activity that forms the basis for their
 8    FAC originated outside of the United States, FAC ¶ 115, so even if the court credits the
 9    allegations in the FAC, it may rule on the jurisdictional issue as a matter of law without
10    the need for additional discovery. Plaintiffs attempt to pull their complaint within the
11    orbit of the non-commercial tort exception by alleging that a civil conspiracy to commit
12    the hacking occurred within the United States, FAC ¶ 235, but under California law,
13    conspiracy “is not an independent tort; it cannot create a duty or abrogate an immunity.”
14    Enter. Research Group, Inc. v. Genesis Creative Group, Inc., 122 F.3d 1211, 1228 (9th
15    Cir. 1997). Accordingly, there are no further factual questions that, if developed, would
16    assist the court in determining the merits of Qatar’s 12(b)(1) motion.
17                 2.     The commercial activities exception to the FSIA likewise has no
18                        application to this case.

19          Plaintiffs’ newly-pled invocation of the commercial activities exception to the
20    FSIA fares no better. FAC ¶ 31. This exception is applicable only to claims “based”
21    upon commercial activity in the U.S. or upon acts “in connection with” commercial
22    activity elsewhere. 28 U.S.C. § 1605(a)(2). To be based upon such an activity or act, an
23    action must rely on the activity or act for “those elements of a claim that, if proven,
24    would entitle plaintiff[s] to relief under [their] theory of the case.” Saudi Arabia v.
25    Nelson, 507 U.S. 349, 357 (1993). To satisfy the “in connection with” requirement, the
26    acts complained of must have “some ‘substantive connection’ or a ‘causal link’ to the
27    commercial activity.” Adler v. Nigeria, 107 F.3d 720, 726 (9th Cir. 1997) (citing Fed.
28    Ins. Co. v. Richard I. Rubin & Co., 12 F.3d 1270, 1289-91 (3rd Cir. 1993)). However,

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 1    where, as here, the causes of action are “primarily tort-based” and “[do] not arise from”
 2    the alleged commercial activity (as in a breach of contract allegation, for example), there
 3    is no substantive nexus to satisfy the requirements of section 1605(a)(2). Rubin & Co.,
 4    12 F.3d at 1290-91.
 5          The only commercial activity by Qatar alleged in the FAC is the hiring of U.S.
 6    agents. FAC ¶ 31. The tort claims alleged in the FAC are not based upon the contractual
 7    arrangements between Qatar and its agents. Nor are they based upon acts in connection
 8    with a commercial activity of Qatar outside the United States. Instead, they are based
 9    upon the alleged hacking of Plaintiffs’ computers as part of a purported campaign to
10    improve Qatar’s image in the United States. This inherently non-commercial activity
11    cannot, as a matter of law, support application of the commercial activities exception.
12          B.     A Stay of Discovery As to All Defendants and Third Parties Is
13                 Necessary To Protect Qatar from Burdensome Discovery.
14                 1.     The discovery sought as to other Defendants and third parties
15                        would unjustifiably burden Qatar during the pendency of its
                          Motion to Dismiss.
16

17          A stay of discovery as to Qatar alone would not relieve Qatar of the burden of
18    participating in discovery before its immunity from suit can be adjudicated. To the
19    contrary, Qatar would need to be deeply involved in the discovery process in order to
20    protect its interests, immunities, and rights.
21          In Ashcroft v. Iqbal, the Supreme Court held that where a complaint had failed to
22    state a plausible claim to overcome the defendants’ qualified immunity defense,
23    discovery should not proceed with respect to the other parties who did not assert an
24    immunity defense. This is because “when discovery as to the other parties proceeds, it
25    would prove necessary” for the allegedly immune party and their counsel “to participate
26    in the process to ensure the case does not develop in a misleading or slanted way that
27    causes prejudice to their position.” Ashcroft v. Iqbal, 556 U.S. 662, 685-86 (2009).
28

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 1    “Even if petitioners are not yet themselves subject to discovery orders, then, they would
 2    not be free from the burdens of discovery.” Id.
 3          Similarly, in M.G. v. Metro. Interpreters and Translators, Inc., No. 12-cv-460-JM
 4    (MDD), 2013 WL 690833, *2 (S.D. Cal. Feb. 26, 2013), the court stayed discovery for
 5    all defendants where “the conduct of the government actors” who had a claim for
 6    governmental immunity was “inextricably intertwined with the allegations against the
 7    non-Federal defendants.” Id. “Consequently,” the court reasoned, “discovery into the
 8    actions of the Federal defendants, whether obtained from Plaintiffs, from the non-Federal
 9    defendants, or from third parties” would create real potential prejudice to the defendants
10    that had raised an immunity defense. Id. “To avoid prejudicing their position, the
11    Federal defendants, through counsel, either would have to attend the depositions that may
12    occur or would have to seek leave to re-take depositions in which their interests have not
13    been adequately explored or in which their position has been mischaracterized.” Id. As
14    the court noted, the first option would mean that the burden of discovery would not
15    actually have been lifted as to the stayed immune defendant, and the second is
16    “inefficient and burdensome.” Id.
17          Like the defendants in Iqbal, Qatar has asserted a threshold immunity defense that
18    would preclude Qatar from being sued in this Court at all, sparing it the expense,
19    intrusion, and burden of party discovery. Plaintiffs’ already-served discovery seeks
20    sensitive materials exchanged between a sovereign government and its agents regarding
21    matters of foreign policy. For example, two of the first document requests to Defendants
22    Muzin and Stonington Strategies are for “[a]ny and all documents concerning or
23    constituting Communications with any person regarding Your retention by Defendant
24    State of Qatar,” and “Communications regarding Plaintiffs with Defendant the State of
25    Qatar or with its officials, agents, or any persons acting on its behalf.” Sahni Decl. ¶ 3,
26    Ex. 1. Each of the Rule 45 subpoenas duces tecum to third parties who are FARA-
27    registered agents of Qatar or are otherwise engaged by Qatar to advise or assist them in
28    diplomatic or sovereign functions propound similar document requests, seeking

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 1    communications with Qatar and relating to their engagements with Qatar. Sahni Decl.
 2    ¶ 4, Exs. 2-7. Therefore, Qatar would need to be involved in reviewing any document
 3    productions and attending any depositions to ensure that the facts are not developed in a
 4    “misleading, or slanted way.” M.G., 2013 WL 690833, at *2. And because Plaintiffs’
 5    claims are based on allegations regarding the relationships between Qatar and the other
 6    Defendants, the interests of all defendants are “inextricably intertwined” with one another
 7    with respect to discovery. Id. As in Iqbal and M.G., this Court should decline to subject
 8    Qatar to this burden and risk while its dispositive motion is under consideration.
 9                  2.     The discovery sought by Plaintiffs impinges on Qatar’s Vienna
10                         Convention immunities.

11           Qatar’s immunity under the Vienna Conventions on Consular and Diplomatic
12    Relations provides an additional and important basis to stay all discovery. The FSIA
13    operates “[s]ubject to existing international agreements to which the United States [was]
14    a party at the time of enactment of this Act.” 28 U.S.C. § 1604. Because the United
15    States signed the Vienna Convention in 1972 and the FSIA was enacted in 1977, “the
16    [Plaintiff] must show that the discovery sought does not violate the Vienna Convention.”
17    City of N.Y. v. Rep. of Philippines, No. 03Civ.6085FCCFSM, 2004 WL 2710026, *4
18    (S.D.N.Y. Nov. 23, 2004).
19           The Vienna Convention on Diplomatic Relations provides that “[t]he archives and
20    documents of the mission shall be inviolable at any time and wherever they may be.”
21    Vienna Convention on Diplomatic Relations, art. 24, Apr. 18, 1961, 23 U.S.T. 3227, 500
22    U.N.T.S. 95. It goes on to specify that the “official correspondence of the mission shall
23    be inviolable.” Id., art. 27. The Vienna Convention on Consular Relations likewise
24    states that “consular archives and documents shall be inviolable at all times and wherever
25    they may be.” Vienna Convention on Consular Relations, art 33, Apr. 24, 1963, 21
26    U.S.T. 77, 596 U.N.T.S. 261. “Consular archives” is defined broadly, and “includes all
27    the papers, documents, correspondence, books, films, tapes and registers of the consular
28    post.” Id., art. 1(k).

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 1          These broad immunities protect the papers and documents of diplomats and
 2    consuls in the U.S. “with the understanding that American diplomats abroad will be
 3    afforded the same protections from intrusions by the host state. The most secure way to
 4    guarantee this protection, the United States tells us, is through blanket immunities and
 5    privileges without exception.” 767 Third Ave. Assocs. v. Permanent Mission of Republic
 6    of Zaire to United Nations, 988 F.2d 295, 300 (2d Cir. 1993). “There are no relevant
 7    exceptions to this inviolability in either Convention.” Ewald v. Royal Norwegian
 8    Embassy, No. 11-CV-2116 SRN/SER, 2011 WL 6094600, at *5 (D. Minn. Nov. 20,
 9    2013) (denying document requests and interrogatories for documents relating to an
10    employment discrimination claim).
11          Here, the invasive discovery requests already propounded will implicate
12    diplomatic correspondence and consular records. The RFPs request all documents
13    constituting “Communications with any person regarding Your retention by Defendant
14    State of Qatar,” and “Communications regarding Plaintiffs with Defendant Qatar or with
15    its officials, agents, or any persons acting on its behalf.” Sahni Decl., Ex. 1. Likewise,
16    the subpoenas duces tecum that have been served on individuals and entities that are
17    agents of or engaged by Qatar request “[a]ll documents concerning or constituting
18    communications regarding Plaintiffs, including but not limited to communications with
19    . . . any person acting on behalf of the State of Qatar.” They also request “[a]ll
20    documents concerning or constituting communications regarding Your retention, directly
21    or indirectly, by the State of Qatar.” Sahni Decl., Exs. 2-7. On their face, these requests
22    encompass official correspondence from the embassy of Qatar and other consular
23    records—such as correspondence with consular officials, or documents provided to
24    registered foreign agents in furtherance of their engagement—that are “inviolable” under
25    the Vienna Convention.
26          Plaintiffs cannot circumvent Qatar’s Vienna Convention immunity by seeking the
27    same information through the other Defendants or third parties; by the express terms of
28    the Vienna Convention, that information is inviolable “at any time and wherever they

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 1    may be.” The Ninth Circuit’s reasoning in a similar case, Taiwan v. U.S. District Court
 2    for the N. District of Cal., 128 F.3d 712, 714 (9th Cir. 1997), makes this clear. In that
 3    case, the United States and its Taiwanese diplomatic counterpart had an agreement that
 4    the “archives and documents of the sending counterpart organization [would] be
 5    inviolable” and the court held that the “provision prevents a court from directly
 6    compelling production of [the Taiwanese organization’s] documents.” Plaintiffs sought
 7    to circumvent this immunity by noticing a deposition for the organization’s deputy
 8    director, which the district court granted. The Ninth Circuit reversed, reasoning that “the
 9    protection afforded by [the provision] would be practically useless if an employee could
10    be compelled to testify about the contents of the organization’s documents.” Id.
11    Plaintiffs’ deposition topics were therefore improper because they “could require
12    extensive disclosure of information obtained from documents in [the Taiwan
13    organization’s] archives.” Id. The same principles apply here. Plaintiffs cannot
14    circumvent Qatar’s immunity over its consular documents by asking co-Defendants or
15    third parties to produce them or discuss them in depositions, as Plaintiffs’ currently-
16    propounded discovery does.
17          Given this landscape, if discovery as to the other Defendants and third parties is
18    allowed to proceed, Qatar would be compelled to object to and litigate over requests for
19    information that elicit its inviolable information, which would render any more limited
20    stay for Qatar effectively useless.
21    II.   The Court Should Stay Discovery for the Additional Reason That Plaintiffs
22          Have Failed to State a Plausible Claim As Required by Rule 12(b)(6).
23          In addition to the jurisdictional defects of Plaintiffs’ FAC, Plaintiffs also are not
24    entitled to discovery because they have not stated a plausible claim upon which relief can
25    be granted. In Iqbal, 556 U.S. at 686, the Supreme Court held that because the plaintiff’s
26    complaint was “deficient under Rule 8, he is not entitled to discovery, cabined or
27    otherwise.” See also Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 564 n.8 (2007)
28    (stating that “before proceeding to discovery, a complaint must allege facts suggestive of

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 1    illegal conduct”). Likewise, the Ninth Circuit has held that where “the allegations of the
 2    complaint fail to establish the requisite elements of the cause of action,” the court’s
 3    “requiring costly and time consuming discovery and trial work would represent an
 4    abdication of [its] judicial responsibility.” Rutman Wine Co. v. E. & J. Gallo Winery,
 5    829 F.2d 729, 738 (9th Cir. 1987) (quoting Havoco of Am., Ltd. v. Shell Oil Co., 626 F.2d
 6    549, 553 (7th Cir. 1980)).
 7          Consistent with these principles, courts in the Ninth Circuit find good cause to stay
 8    discovery where the plaintiff will be unable to state a claim for relief. Wood v. McEwan,
 9    644 F.2d 797, 801 (9th Cir. 1981). See also Chatman v. Johnson, No. Civ S-06-0578,
10    2007 WL 4212648 (E.D. Cal. Nov. 27, 2007) (staying discovery where the court found
11    the pending motions to dismiss to “have merit”); Davis v. Speer, No. C10-5185, 2010
12    WL 4568047 (W.D. Wash. Nov. 3, 2010) (staying discovery during the pendency of a
13    12(b)(6) motion because “the parties should not face the burden and expense of
14    responding to discovery as to claims that may not survive the pleading stage”); Bacon v.
15    Reyes, 2013 WL 5522263 (D. Nev. Oct. 3, 2013) (staying discovery where the court
16    concluded the plaintiff had likely failed to state a claim because he had failed to exhaust
17    his administrative remedies).
18          As will be explained in Qatar’s Motion to Dismiss, pursuant to Fed. R. Civ. P.
19    12(b)(6), Plaintiffs have failed to plausibly allege any of their causes of action, even after
20    being given an opportunity to conduct wide-ranging third-party discovery and amend
21    their Complaint. Plaintiffs’ substantive claims in this case still all hinge on the baseline
22    proposition that Qatar perpetrated the alleged hack,8 but, even under the FAC, this
23    proposition rests entirely on the allegation that an IP address registered to a computer in
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      8
       The new causes of action that Plaintiffs added in the FAC, invoking the Digital
26    Millennium Copyright Act and trade secret law, are premised on the proposition that
      Qatar accessed copyrighted material or trade secrets belonging to Defendants via the
27    alleged hack. FAC ¶¶ 194-227.
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 1    Qatar was somehow related to the alleged hack. FAC ¶ 115. As the Court noted in its
 2    order denying the TRO, this does not create a reasonable inference that the government
 3    of Qatar (or any of Defendants 9) organized, directed, or was at all involved in the alleged
 4    unauthorized email access. See Dkt. 37 (ruling that “Although Plaintiffs have presented
 5    evidence that the computers used to access Plaintiffs’ email accounts have IP addresses
 6    registered to physical locations in London, the Netherlands, and Doha, Qatar, Plaintiffs
 7    have failed to demonstrate . . . that the computer (or the individual doing the hacking) had
 8    any relationship with the government of Qatar.”).
 9    III.   Additional Factors Weigh in Favor of Granting a Complete Stay of Discovery.
10           As described above, Qatar’s strong claim of immunity is a threshold question the
11    Court should decide before allowing any further discovery to proceed. In addition to that
12    compelling ground for granting this Motion, the general factors courts consider in
13    determining whether to grant a stay also lead to the same conclusion. These factors are:
14    “‘(1) the interests of the plaintiff in proceeding expeditiously with the civil action and the
15    potential prejudice to plaintiffs of a delay; (2) the burden on the defendants; (3) the
16    convenience to the court; (4) the interests of persons not parties to the civil litigation; and
17    (5) the public interest.’” Top Rank, Inc., 2015 WL 9952887, at *1. All of these factors
18    cut definitively in favor of a stay of discovery during the pendency of Qatar’s Motion to
19    Dismiss.
20           As to the first two factors, there would be substantial burden on Qatar without a
21    stay, and minimal prejudice to Plaintiffs if a stay is granted. Without a complete stay,
22    Qatar would be forced to engage substantively in the nuts and bolts of discovery in this
23

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      9
        In this respect, the 12(b)(6) arguments that will be articulated in Qatar’s Motion to
25    Dismiss apply equally to the other Defendants in this action, because Plaintiffs have
      failed to allege any plausible basis to connect the alleged hacking activities with any of
26    the Defendants. Therefore, if the court were to grant Qatar’s Motion to Dismiss on
      12(b)(6) grounds, it would be equally likely to grant a similar motion for the other
27    Defendants. In other words, the reasons to delay discovery until the resolution of the
      Rule 12(b)(6) issues raised in Qatar’s Motion to Dismiss would also warrant a stay as to
28    the other Defendants.

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 1    proceeding in order to protect inviolable privileges, notwithstanding the Court’s
 2    previously-expressed “serious concerns” that it lacks subject matter jurisdiction. By
 3    contrast, any prejudice to Plaintiffs from a short delay will be limited, as Qatar will raise
 4    its jurisdictional challenge expeditiously, Dkt. 46, and the Court has already indicated its
 5    intention to rule on the Motion to Dismiss promptly. Id.
 6          A stay would also streamline litigation and be beneficial to the Court. Factual
 7    investigation would not aid the court in deciding the issues raised by Qatar in its Motion,
 8    as the fatal deficiencies in Plaintiffs’ case are evident on the face of the FAC. See Top
 9    Rank, Inc., 2015 WL 9952887, at *1 (noting that whether the motion “is a challenge ‘as a
10    matter of law’ or the ‘sufficiency’ of the allegations” is a relevant factor the court should
11    consider). By contrast, allowing any discovery to proceed at this juncture will result in
12    costly and time-consuming litigation over the proper scope of such discovery, including
13    the applicability of Qatar’s immunity and protections.
14          Finally, the public interest and the interests of persons not party to the civil
15    litigation plainly favor a stay. Respect for foreign sovereign immunity and the
16    requirements of the Vienna Conventions helps to ensure that the United States will
17    benefit from reciprocal treatment in its conduct of relations with foreign states. Garb v.
18    Republic of Poland, 440 F.3d 579, 597 n.24 (2d Cir. 2006) (“[E]xcept when a small
19    number of special circumstances prevail, sovereign states are granted immunity from
20    suits in the courts of other sovereign states—a reciprocal norm that significantly insulates
21    the United States from suits in foreign countries.”). Likewise, the third parties on whom
22    Plaintiffs have propounded burdensome discovery based only on a flimsy and highly
23    implausible FAC will be best served by a stay pending a decision as to whether this
24    lawsuit can move forward at all.
25    IV.   Limited Jurisdictional Discovery Is Not Warranted Here.
26          In the FSIA context in particular, courts around the country have consistently held
27    that discovery should be stayed and have allowed even jurisdictional discovery only in
28    limited circumstances, none of which are applicable here. Jurisdictional discovery

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 1    “should be ordered circumspectly and only to verify allegations of specific facts crucial
 2    to an immunity determination.” Af-Cap, Inc. v. Chevron Overseas (Congo) Ltd., 475
 3    F.3d 1080, 1095-96 (9th Cir. 2007) (quoting Conn. Bank of Commerce v. Republic of
 4    Congo, 309 F.3d 240, 260 n.10 (5th Cir. 2002)); Richard Ins. & Co., Inc., 12 F.3d at 1284
 5    n.11 (holding that any discovery must be “limited to the essentials necessary to
 6    determining the preliminary question of jurisdiction.”).
 7          With the sensitive issues of foreign policy and comity at stake, courts consistently
 8    hold that jurisdictional discovery should only be ordered if such discovery would
 9    materially affect the court’s analysis with regard to the applicability of the FSIA. Id.
10    This is not the case here because, first, the Plaintiffs have failed to present non-
11    speculative allegations that would suggest Qatar was involved in a tort at all; and second,
12    even if Plaintiffs’ conjectural allegations were to be credited, they do not fall within the
13    noncommercial tort or commercial activities exceptions of the FSIA and therefore Qatar
14    is immune as a matter of law. See Section I.A, supra. See also Doe v. Unocal Corp., 963
15    F. Supp. 880, 886 (C.D. Cal. 1997) (ruling that there is no need to conduct jurisdictional
16    discovery where the allegations as stated in the complaint are facially insufficient to
17    invoke the commercial activity exception to the FSIA) overruled on other grounds, 395
18    F.3d 932 (9th Cir. 2002); Crist v. Republic of Turkey, 995 F. Supp. 5, 12-13 (D.D.C.
19    1998) (“[A] tension exists between ‘permitting discovery to substantiate exceptions to
20    statutory foreign sovereign immunity and protecting a sovereign’s or sovereign agency’s
21    legitimate claim to immunity from discovery.’”) (quoting Arriba Ltd., 962 F.2d at 534).
22          Limited jurisdictional discovery during the pendency of a motion to dismiss under
23    the FSIA should be granted “only if the plaintiff presents ‘non-conclusory allegations
24    that, if supplemented with additional information,’ will materially affect the court’s
25    analysis with regard to the applicability of the FSIA.” Crist, 995 F. Supp. at 12 (quoting
26    Millicom Int’l Cellular, S.A. v. Republic of Costa Rica, 1997 WL 527340, at *4 (D.D.C.
27    August 18, 1997)). Such discovery should be permitted “‘only to verify allegations of
28    specific facts,’” and is not justified where Plaintiffs provide the court “with nothing more

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 1    than conjecture and surmise in support of their jurisdictional theory.” Id. (quoting Arriba
 2    Ltd., 962 F.2d at 534). Because Plaintiffs fail to proffer any plausible basis for this
 3    Court’s exercise of jurisdiction, “discovery would frustrate the significance and benefit of
 4    entitlement to immunity from suit.” El-Fadl v. Central Bank of Jordan, 75 F.3d 668, 671
 5    (D.C. Cir. 1996) (quoting Foremost-McKesson, Inc. v. Islamic Republic of Iran, 905 F.2d
 6    438, 449 (D.C. Cir. 1990)), abrogated on other grounds, Samantar v. Yousuf, 560 U.S.
 7    305 (2010); see also Arch Trading Corp. v. Republic of Ecuador, 839 F.3d 193, 206-07
 8    (2d Cir. 2016) (holding that even limited jurisdictional discovery is inappropriate where
 9    the “party seeking discovery cannot articulate a ‘reasonable basis’ for the court first to
10    assume jurisdiction”).
11          In other words, the “FSIA protects defendants from a fishing expedition that seeks
12    to examine the details of [their] relationships . . . without any non-speculative basis for
13    believing that those details would establish jurisdiction.” Arch Trading Corp., 839 F.3d
14    at 207. In the FAC, Plaintiffs at most succeed in alleging that their emails were
15    inappropriately accessed and disseminated, and that one piece of the electronic footprint
16    may be linked to a server in Qatar—a nation with over 2.5 million residents. FAC
17    ¶¶ 115. They offer nothing but “conjecture and surmise” to suggest that any Defendants
18    were involved in any part of the alleged hacking activity. See Arriba Ltd., 962 F.2d at
19    534. With no plausible allegations whatsoever to suggest that Qatar was involved in any
20    tortious activity, Plaintiffs cannot overcome the immunity provided to Qatar under the
21    FSIA. Tellingly, these fundamental defects persist in the FAC even after Plaintiffs went
22    on a fishing expedition with third-party subpoenas that were not subject to the limited
23    stay of discovery. This alone is a strong indication that allowing further jurisdictional
24    discovery during the pendency of the Motion to Dismiss would not assist the Court in
25    deciding the Motion.
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 1                                             CONCLUSION
 2          For the foregoing reasons, Defendant State of Qatar respectfully requests that the
 3    Court stay all discovery in this case, at least until it decides the threshold legal issues
 4    raised in Defendant State of Qatar’s Motion to Dismiss.
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 6     Dated: June 6, 2018                             Respectfully submitted,
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                                                       COVINGTON & BURLING LLP
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 9
                                                       By: /s/ Mitchell A. Kamin
10                                                          MITCHELL A. KAMIN
11                                                          Attorneys for Defendant State of Qatar

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